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ROANOKE DIVISION
JAMES J. ROYAL, ) Civil Action No. 7:08-cv-00222
Plaintiff, )
)
v. ) FINAL ORDER
)
KATHLEEN J. BASSETT, et al., ) By: Hon. Jackson L. Kiser
Defendants. ) Senior United States District Judge

In accordance With the Written memorandum opinion entered this day, it is hereby
ORDERED

that plaintiffs motion to amend his complaint (docket #39) is GRANTED; Dr. George Smith,
chief dentist for the Virginia Department of Corrections, is ADDED as a defendant to this
action; plaintiffs “affidavit in support to amend the motion to compel after request for
discovery” (docket #40) is DENIED; defendants Bassett, Pickerel, and Schilling’s motion and
supplement motion for summary judgment (docket #19, 23) are GRANTED; defendants Gilbert
and Phipps’ motion for summary judgment (docket #25) is GRANTED; plaintiff s complaint is
DISMISSED; and the case is STRICKEN from the active docket of the court.

The Clerk is directed to send copies of this order and the accompanying memorandum

opinion to plaintiff and counsels of record for the defendants

ENTER: This q&g\ day of December, 2008.

   
  
 

 
     

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